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                                                                                                   E-FILED
                                                                  Friday, 28 September, 2007 01:55:18 PM
                                                                             Clerk, U.S. District Court, ILCD




JOHN M. WATERS
                                United States District Court                                   TEL: 309.793. 5778
  clerk of court                  Central District of Illinois                                 FAX: 309.793. 5878
                                         Office of the Clerk
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                                             211 - 19TH STREET
                                        ROCK ISLAND, ILLINOIS 61201

                                            September 28, 2007


Clerk, U.S. District Court
U.S. Courthouse
1000 E. Main St.
Richmond, VA 23219


Re: USA v Sean Turner
Central Dist of IL Case # 07-6422M


Dear Clerk,

On 9/26/07, our Court held an initial appearance on the above named defendant. This defendant waived
further hearing in our court and was ordered committed to your district by order of Magistrate Judge
Thomas J. Shields. At this time, I am sending you certified copies of the documents in our file, consisting
of:

        Waiver of Rule 5 Hearing
        Commitment to Another District
        Docket Sheet

Would you please acknowledge receipt of these documents on the enclosed copy of this letter and return it
to us in the self-addressed stamped envelope that is enclosed?

Sincerely,

S/Denise Koester
Deputy in Charge


Enc.
